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   8
                                  UNITED STATES BANKRUPTCY COURT
   9
                                  NORTHERN DISTRICT OF CALIFORNIA
  10
  11
       In Re:                                                Case No. 18-10846
  12
  13   KELLY KAY GRIMES                                      Chapter 13

  14
  15   _____________________________/
  16
                                     MOTION FOR AUTHORITY TO
  17                           SELL PROPERTY FREE AND CLEAR OF LIENS

  18            The Chapter 13 Debtor, Kelly Kay Grimes, hereby moves for an order pursuant to 11
  19   USC § 363(b), (f) & (m) authorizing the sale of the real property described as 1545 Yardley
  20
       Street, Santa Rosa, California free and clear of liens.
  21
                1.     The Debtor is the owner of a single family dwelling commonly described as 1545
  22
  23   Yardley Street, Santa Rosa, California, APN 034-310-025 (the “Property”).

  24            2.     The Debtor has accepted an offer to purchase the Property from James Cartwright

  25   (“Buyer”) at the sale price of $310,000. A true and correct copy of the Real Estate Purchase
  26
       Contract is attached hereto.
  27
                3.     The Property is encumbered with the following liens that are to be paid through
  28

                                                        1
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   1   escrow:
   2
              (i)       General and special taxes and/or assessment for the fiscal year 2019-
   3
       2020, a lien, but not yet due and payable.
   4
              (ii)      Taxes and assessments, general and special, for the fiscal year 2018-2019,
   5
   6   as follows:

   7          Assessor’s Parcel No.             :      034-310-025-000
              Code No.              :           004-112
   8          1st Installment       :           $1,650.64    Marked Paid
              2nd Installment       :           $1,650.64    NOT Marked Paid
   9
              Land Value            :           $80,804.00
  10          Imp. Value            :           $190,474.00

  11          (iii)     The lien of supplemental, if any, assessed pursuant to the provisions of
  12   Section 75, et seq, of the Revenue and Taxation Code of the California.
  13
              (iv)      Deed of Trust to secure an indebtedness of the amount stated below and
  14
       any other amounts payable under the terms thereof,
  15
  16
              Amount                     :      $235,000.00
  17          Trustor/Borrower           :      Kelly Grimes, unmarried
              Trustee                    :      Commonwealth Land Title
  18          Beneficiary/Lender         :      JPMorgan Chase Bank, N.A.
              Dated                      :      January 25, 2008
  19          Recorded                   :      January 31, 2008 in Official Records under Recorder's
  20                                            Serial Number 2008008612
              Loan No.                   :      1679005103
  21
              Modification/amendment of the terms of said Deed of Trust, by an instrument
  22
  23          Recorded :        May 21, 2013 in Official Records under Recorder's Serial Number
                                2013052403
  24
              The record beneficial interest under said Deed of Trust as a result of the last recorded
  25   assignment thereof is,
  26
              Vested In         :        Federal National Mortgage Association, its successors or assigns
  27                                     by instrument
              Recorded          :        October 29, 2014 in Official Records under Recorder's
  28                                     Serial Number 2014076823

                                                          2
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   1          Loan No.          :        1706191002
   2
              [Debtor estimates the balance due to Federal National Mortgage Association, its
   3
       successors or assigns by instrument (Seterus) is approximately $245,000.00]
   4
              (v)      Notice of Delinquent Assessment (“Assessment Lien”) pursuant to the
   5
   6   Covenants, Conditions and Restrictions recorded May 30, 1991 in Official Records under

   7   Recorder's Serial Number1991-0050459 as follows:

   8
              By                :        Dutton's Apple Tree North Owners Association
   9
              Amount            :        $9,739.14
  10          Trustee           :        United Trustee Services
              Recorded          :        November 28, 2016 in Official Records under Recorder's Serial
  11                                     Number 2016109838
  12          [Debtor estimates the balance due to Dutton’s Apple Tree North Association is
  13
       approximately $20,000].
  14
              4.        The Property is to be sold free and clear of the following disputed liens1:
  15
              (i)       An Abstract of Judgment, in favor of Portfolio Recovery in the amount of $1,683,
  16
  17   recorded with the County of Sonoma on June 2, 2014, as document number 2014037251.

  18          (ii)      An Abstract of Judgment, in favor of Cach, LLC in the amount of $2,855,
  19   recorded with the County of Sonoma on June 5, 2015, as document number 2015048908.
  20
              (iii)     An Abstract of Judgment, in favor of Midland Funding, in the amount of $2,208,
  21
              5.        The Debtor and Buyer have employed Dan Vazquez of Re/Max Gold for the
  22
  23   sale/purchase of the Property. The Debtor and Buyer’s agreement provides that he will be paid a

  24   real estate commission equal to four percent (4.0%) of the selling price.

  25          6.        In search for a property, Buyer contacted Dan Vazquez with RE/MAX Gold,
  26
  27
              1
                On March 20, 2019, the Court entered Orders Avoiding Judicial Liens [11 USC §522(f] for
  28   Cach, LLC, Midland Funding, LLC and Portfolio Recovery.

                                                          3
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   1   viewed the Yardley Street property, and thereafter made an offer to purchase. After back and
   2
       forth negotiations on price and terms, an agreement was reached. It is that agreement that is
   3
       before the court for approval. Buyer has not had any connections with Kelly Kay Grimes, her
   4
       creditors, any party in interest, their respective attorneys and accountants, the United States
   5
   6   Trustee, or any person employed in the office of the United States Trustee.

   7          7.      The Debtor believes the sale is in the best interest of the estate and should be

   8   approved.
   9
              WHEREFORE, the Debtor requests the court enter its order authorizing her to
  10
       sell the Property on the terms set forth above and for an order finding Buyer is a good faith
  11
       purchaser.
  12
  13   Dated: April 9, 2019                          /s/ Michael C. Fallon
                                                     _________________________________
  14                                                 Michael C. Fallon
                                                     Attorney for Debtor
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